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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS LLC                  §
                                 §
     Plaintiff,                  §
                                 §
vs.                              §                  Case No: 2:17-cv-159- JRG-RSP
                                 §
MOTOROLA MOBILITY LLC            §
                                 §
     Defendants.                 §
________________________________ §
  UNOPPOSED MOTION TO DISMISS DEFENDANT MOTOROLA MOBILITY LLC
                         WITH PREJUDICE

       Under Federal Rule of Civil Procedure 41(a), Plaintiff Rothschild Connected Devices
Innovations LLC moves the Court to dismiss all of its claims against Defendant Motorola
Mobility LLC with prejudice in consideration for which each party agrees to bear its own
attorneys’ fees and costs. Based upon the foregoing, Rothschild respectfully requests that the
Court enter the proposed order of dismissal submitted herewith.
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Dated: April 28, 2017                       Respectfully Submitted,
                                            /s/ Jay Johnson
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                               CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are
being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3) on April 28, 2017.

                                            /s/ Jay Johnson
                                            Jay Johnson


                            CERTIFICATE OF CONFERENCE

The undersigned counsel for Plaintiff certifies that he met and conferred with counsel for
Defendant on April 28, 2017 and that Defendant does not oppose this motion.

                                            /s/ Jay Johnson
                                            Jay Johnson
